
WELLS, Justice.
We have for review Rea v. 7-11 Stores/Southland Corp., 704 So.2d 120 (Fla. 1st DCA 1997), certifying the following question to be of great public importance:
Does the court’s decision in Quality Engineered Installation, Inc. v. Higley South, Inc., 670 So.2d 929 (Fla.1996), extend to permit the accrual of prejudgment interest on attorney’s fees, authorized pursuant to the Workers’ Compensation Law, from the date entitlement to the fee is determined, when an amount for same has not yet been established?
Rea, 704 So.2d at 121. We have jurisdiction pursuant to article V, section 3(b)(4), Florida Constitution.
In Lee v. Wells Fargo Armored Services, 707 So.2d 700 (Fla.1998), we answered this question in the negative and approved the decision of the First District Court of Appeal. Accordingly, consistent with Lee, we approve Rea and remand for further proceedings.
It is so ordered.
KOGAN, C.J., OVERTON, SHAW, HARDING and ANSTEAD, JJ., and GRIMES, Senior Justice., concur.
